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 1   Todd M. Friedman (SBN 216752)
     Meghan E. George (SBN 274525)
 2   Adrian R. Bacon (SBN 280332)
 3   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
     21550 Oxnard St., Suite 780
 4
     Woodland Hills, CA 91367
 5   Phone: 323-306-4234
 6
     Fax: 866-633-0228
     tfriedman@toddflaw.com
 7   mgeorge@toddflaw.com
 8   abacon@toddflaw.com
     Attorneys for Plaintiffs,
 9
10                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
11
12   CRAIG CUNNINGHAM,                        ) Case No.
13   individually and on behalf of all others )
     similarly situated,                      ) CLASS ACTION
14                                            )
15   Plaintiff,                               ) COMPLAINT FOR VIOLATIONS
                                              ) OF:
16
            vs.                               )
17                                            ) 1. NEGLIGENT VIOLATIONS OF
                                                   THE TELEPHONE CONSUMER
18                                            )    PROTECTION ACT [47 U.S.C.
     CINCH HOME SERVICES, INC. and )               §227 ET SEQ.]
19   EDATA BY DESIGN, INC., DOES 1 )            2. WILLFUL VIOLATIONS OF THE
                                                   TELEPHONE CONSUMER
20   through 10, inclusive, and each of them )     PROTECTION ACT [47 U.S.C.
                                              )    §227 ET SEQ.]
21
     Defendants.                              )
22                                            ) DEMAND FOR JURY TRIAL
23         Plaintiff, CRAIG CUNNINGHAM (“Plaintiff”), individually and all others
24   similarly situated, alleges the following upon information and belief based upon
25   personal knowledge:
26                             NATURE OF THE CASE
27         1.    Plaintiff brings this action individually and on behalf of all others
28   similarly situated seeking damages and any other available legal or equitable


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 1   remedies resulting from the illegal actions of CINCH HOME SERVICES INC. and
 2   EDATA BY DESIGN INC. (“Defendants”), in negligently, knowingly, and/or
 3   willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of the
 4   Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby
 5   invading Plaintiff’s privacy.
 6                             JURISDICTION & VENUE
 7         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 8   a resident of Texas, seeks relief on behalf of a Class, which will result in at least
 9   one class member belonging to a different state than that of Defendants,
10   corporations of Tennessee and Delaware. Plaintiff also seeks up to $1,500.00 in
11   damages for each call in violation of the TCPA, which, when aggregated among a
12   proposed class in the thousands, exceeds the $5,000,000.00 threshold for federal
13   court jurisdiction. Therefore, both diversity jurisdiction and the damages threshold
14   under the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court
15   has jurisdiction.
16         3.     Venue is proper in the United States District Court for the Central
17   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
18   because Defendants do business within this district.
19                                         PARTIES
20         4.     Plaintiff, Craig Cunningham (“Plaintiff”), is a natural person residing
21   in Plano, Texas and is a “person” as defined by 47 U.S.C. § 153 (10).
22         5.     Defendant, Cinch Home Services Inc., is a home appliance company
23   and is a “person” as defined by 47 U.S.C. § 153 (10).
24         6.     Defendant, Edata by Design Inc., is a company and is a “person” as
25   defined by 47 U.S.C. § 153 (10).
26         7.     The above named Defendants, and their subsidiaries and agents, are
27   collectively referred to as “Defendants.” The true names and capacities of the
28   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are


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 1   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 2   names. Each of the Defendants designated herein as a DOE is legally responsible
 3   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 4   Complaint to reflect the true names and capacities of the DOE Defendants when
 5   such identities become known.
 6         8.     Plaintiff is informed and believes that at all relevant times, each and
 7   every Defendant was acting as an agent and/or employee of each of the other
 8   Defendants and was acting within the course and scope of said agency and/or
 9   employment with the full knowledge and consent of each of the other Defendants.
10   Plaintiff is informed and believes that each of the acts and/or omissions complained
11   of herein was made known to, and ratified by, each of the other Defendants.
12                              FACTUAL ALLEGATIONS
13         9.     Beginning on or around February 19, 2020, Defendant contacted
14   Plaintiff on his cellular telephone, ending in -9191, in an effort to sell or solicit its
15   services.
16         10.    Defendants used an “automatic telephone dialing system”, as defined
17   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to sell or solicit its
18   business services. At one or more instance during these calls, Defendants utilized
19   an “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(A).
20         11.    Defendants’ calls constituted calls that were not for emergency
21   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
22         12.    Defendants’ calls were placed to telephone number assigned to a
23   cellular telephone service for which Plaintiff incurs a charge for incoming calls
24   pursuant to 47 U.S.C. § 227(b)(1).
25         13.    Plaintiff is not a customer of Defendants’ services and has never
26   provided any personal information, including his cellular telephone number, to
27   Defendants for any purpose whatsoever. Accordingly, Defendants never received
28   Plaintiff’s “prior express consent” to receive calls using an automatic telephone


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 1   dialing system or an artificial or prerecorded voice on his cellular telephone
 2   pursuant to 47 U.S.C. § 227(b)(1)(A).
 3                                CLASS ALLEGATIONS
 4         14.    Plaintiff brings this action on behalf of himself and all others similarly
 5   situated, as a member of the proposed class (hereafter “The Class”) defined as
 6   follows:
 7
 8                All persons within the United States who received any
                  telephone calls from Defendants to said person’s cellular
 9                telephone made through the use of any automatic
10                telephone dialing system or an artificial or prerecorded
                  voice and such person had not previously consented to
11
                  receiving such calls within four years prior to the filing
12                of the complaint through the date of class certification.
13
           15.    Plaintiff represents, and is a member of, The Class, consisting of All
14
     persons within the United States who received any telephone calls from Defendants
15
     to said person’s cellular telephone made through the use of any automatic telephone
16
     dialing system or an artificial or prerecorded voice and such person had not
17
     previously not provided their cellular telephone number to Defendant within four
18
     years prior to the filing of the complaint through the date of class certification.
19
           16.    Defendants, their employees and agents are excluded from The Class.
20
     Plaintiff does not know the number of members in The Class, but believes the Class
21
     members number in the thousands, if not more. Thus, this matter should be
22
     certified as a Class Action to assist in the expeditious litigation of the matter.
23
           17.    The Class is so numerous that the individual joinder of all of its
24
     members is impractical. While the exact number and identities of The Class
25
     members are unknown to Plaintiff at this time and can only be ascertained through
26
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
27
     The Class includes thousands of members.            Plaintiff alleges that The Class
28



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 1   members may be ascertained by the records maintained by Defendants.
 2            18.      Plaintiff and members of The Class were harmed by the acts of
 3   Defendants in at least the following ways: Defendants illegally contacted Plaintiff
 4   and Class members via their cellular telephones thereby causing Plaintiff and Class
 5   members to incur certain charges or reduced telephone time for which Plaintiff and
 6   Class members had previously paid by having to retrieve or administer messages
 7   left by Defendants during those illegal calls, and invading the privacy of said
 8   Plaintiff and Class members.
 9            19.      Common questions of fact and law exist as to all members of The
10   Class which predominate over any questions affecting only individual members of
11   The Class. These common legal and factual questions, which do not vary between
12   Class members, and which may be determined without reference to the individual
13   circumstances of any Class members, include, but are not limited to, the following:
14
        a.          Whether, within the four years prior to the filing of this Complaint
15
                    through the date of class certification, Defendants made any call (other
16                  than a call made for emergency purposes or made with the prior express
17                  consent of the called party) to a Class member using any automatic
                    telephone dialing system or any artificial or prerecorded voice to any
18                  telephone number assigned to a cellular telephone service;
19      b.          Whether Plaintiff and the Class members were damaged thereby, and the
                    extent of damages for such violation; and
20
        c.          Whether Defendants should be enjoined from engaging in such conduct
21                  in the future.
22
              20.      As a person that received numerous calls from Defendants using an
23
     automatic telephone dialing system or an artificial or prerecorded voice, without
24
     Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of The
25
     Class.
26
              21.      Plaintiff will fairly and adequately protect the interests of the members
27
     of The Class. Plaintiff has retained attorneys experienced in the prosecution of
28



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 1   class actions.
 2         22.    A class action is superior to other available methods of fair and
 3   efficient adjudication of this controversy, since individual litigation of the claims
 4   of all Class members is impracticable. Even if every Class member could afford
 5   individual litigation, the court system could not. It would be unduly burdensome
 6   to the courts in which individual litigation of numerous issues would proceed.
 7   Individualized litigation would also present the potential for varying, inconsistent,
 8   or contradictory judgments and would magnify the delay and expense to all parties
 9   and to the court system resulting from multiple trials of the same complex factual
10   issues. By contrast, the conduct of this action as a class action presents fewer
11   management difficulties, conserves the resources of the parties and of the court
12   system, and protects the rights of each Class member.
13         23.    The prosecution of separate actions by individual Class members
14   would create a risk of adjudications with respect to them that would, as a practical
15   matter, be dispositive of the interests of the other Class members not parties to such
16   adjudications or that would substantially impair or impede the ability of such non-
17   party Class members to protect their interests.
18         24.    Defendants have acted or refused to act in respects generally
19   applicable to The Class, thereby making appropriate final and injunctive relief with
20   regard to the members of the Class as a whole.
21
                            FIRST CAUSE OF ACTION
22         Negligent Violations of the Telephone Consumer Protection Act
23                              47 U.S.C. §227 et seq.
24         25. Plaintiff repeats and incorporates by reference into this cause of
25   action the allegations set forth above at Paragraphs 1-24.
26         26.    The foregoing acts and omissions of Defendants constitute numerous
27   and multiple negligent violations of the TCPA, including but not limited to each
28   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.


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 1          27.   As a result of Defendants’ negligent violations of 47 U.S.C. § 227 et
 2   seq., Plaintiff and the Class Members are entitled to an award of $500.00 in
 3   statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 4   227(b)(3)(B).
 5          28.   Plaintiff and the Class members are also entitled to and seek
 6   injunctive relief prohibiting such conduct in the future.
 7
 8
                         SECOND CAUSE OF ACTION
      Knowing and/or Willful Violations of the Telephone Consumer Protection
 9                                      Act
10                            47 U.S.C. §227 et seq.
11       29. Plaintiff repeats and incorporates by reference into this cause of

12
     action the allegations set forth above at Paragraphs 1-24.

13
            30.   The foregoing acts and omissions of Defendants constitute numerous

14
     and multiple knowing and/or willful violations of the TCPA, including but not

15
     limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
     seq.
16
            31.   As a result of Defendants’ knowing and/or willful violations of 47
17
     U.S.C. § 227 et seq., Plaintiff and the Class members are entitled to an award of
18
     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
19
     § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
20
            32.   Plaintiff and the Class members are also entitled to and seek
21
     injunctive relief prohibiting such conduct in the future.
22
23
                                  PRAYER FOR RELIEF
24
     WHEREFORE, Plaintiff requests judgment against Defendants for the following:
25
26
                             FIRST CAUSE OF ACTION
27          Negligent Violations of the Telephone Consumer Protection Act
28                               47 U.S.C. §227 et seq.



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 1              As a result of Defendants’ negligent violations of 47 U.S.C.
                 §227(b)(1), Plaintiff and the Class members are entitled to and
 2               request $500 in statutory damages, for each and every violation,
 3               pursuant to 47 U.S.C. 227(b)(3)(B); and
 4
                Any and all other relief that the Court deems just and proper.
 5
 6                       SECOND CAUSE OF ACTION
      Knowing and/or Willful Violations of the Telephone Consumer Protection
 7                                      Act
 8                            47 U.S.C. §227 et seq.
 9
                As a result of Defendants’ willful and/or knowing violations of 47
10               U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
11               and request treble damages, as provided by statute, up to $1,500, for
                 each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
12               U.S.C. §227(b)(3)(C); and
13
                Any and all other relief that the Court deems just and proper.
14
15
          Respectfully Submitted this 28th day of September, 2020.
16
                             LAW OFFICES OF TODD M. FRIEDMAN, P.C.
17
18
                                     By: /s Todd M. Friedman
19                                       Todd M. Friedman
20                                       Law Offices of Todd M. Friedman
                                         Attorney for Plaintiff
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